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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

   UNITED STATES OF AMERICA,
                                                         Case No. 1:23-cv-00369-NRM-RML
   Plaintiff,

                  -against-                          REPLY TO RESPONSE TO ORDER TO
                                                              SHOW CAUSE
   RARE BREED TRIGGERS, LLC; RARE
   BREED FIREARMS, LLC; LAWRENCE
   DEMONICO; KEVIN MAXWELL,

                                      Defendants.



                        DECLARATION OF LAWRENCE DEMONICO

  I, Lawrence DeMonico, declare under penalty of perjury that the following is true and correct to

  the best of my present knowledge, information and belief:

     1. I am the President of Rare Breed Triggers, LLC (RBT), and I reside in Austin, Texas.

     2. I am familiar with the operations and management of RBT, as well as the operations and

  management of Rare Breed Firearms, LLC (RBF).

     3. The facts set out in this declaration are based on my personal knowledge.

     4. RBF has never sold firearms or forced-reset triggers, such as the FRT-15 or Wide Open

  Trigger.

     5. RBT never sold FRT-15s or WOTs to customers who provided addresses in New York.

     6. I have reviewed the declaration provided by Special Agent Dean Conigliaro in this case,

  and have reviewed the seven addresses where RBF sent items to New York.

     7. RBF’s records indicate that it did not send any firearms, or any FRT-15 or WOT, and

  instead sent items such as t-shirts and replacement springs to those addresses.
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     8. Replacement springs and locking bars are not firearms or firearm parts that would be

  regulated by the ATF. They are also not capable of converting the function of a firearm.

     9. I have reviewed RBT’s records and can confirm that it never shipped any items to any of

  the addresses for those seven customers.

     10. I also reviewed RBF’s customer records for the addresses of customer “R-1” and “R-2”

  referenced in Special Agent Conigliaro’s declaration, and can confirm that customer “R-1”

  purchased springs, and customer “R-2” purchased T-shirts from RBF—not triggers.

     11. I also reviewed both RBF and RBT’s records, which revealed that the names of the RBF

  customers associated with the address for customer “R-1” was never a customer of RBT, while

  the full name associated with the address for customer “R-2” was never provided as a customer

  for RBT. However, customer “R-2” has a distinctive last name, and a person with the same last

  name purchased an FRT-15 from RBT using a billing and shipping address in North Carolina.



  Executed on March 31, 2023

                                                              ___________________________
                                                              Lawrence DeMonico




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